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uNlTEo sTATEs oF AMEFthA t t-.tt-ii>itis
Plaintiff
VS. CFl. NO. 05-20224-5

JA|VIAL WlLl.|A|V|S,

Defendant.

 

ORDEF{ ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on July 25, 2005. At that time, counsel for the
defendant requested a continuance of the August 1, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to November 7, 2005 with a
[gp_oLt date of Mondav. October 31. 2005. at 10:30 a.m., in Courtroom 1. 11th F|oor of
the Federai Bui|ding, Memphis, TN.

The period from August 12, 2005 through November18, 2005 is excludable under
18 U.S.C. § 3161 (h)(8)(B)(iv) because the ends ofjustioe served in allowing for additional
time to prepare outweigh the need for a speidzs;£ai.

|T |S SO ORDERED this m_[: day ot ,2005.

 

6 DA§HEL BREEN \
| D STATES D|STR|CT JUDGE
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tim note 55 ana/or 32{@} t~‘-norP on 8’ f 3 ~'OS' H_~

 

Notice of Distribution

This notice confirms a copy ot` the document docketed as number 18 in
case 2:05-CR-20224 Was distributed by faX, mail, or direct printing on
August 3, 2005 to the parties listed.

 

 

J Patten Brown

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Honorable J. Breen
US DISTRICT COURT

